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 1                                               THE HONORABLE THOMAS S. ZILLY

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                      UNTIED STATES DISTRICT COURT FOR THE
 7                      WESTERN DISTRICT OF WASHINGTON

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     GLACIER NORTHWEST, INC.,
 9
                        Plaintiff,               Case No. 2:18-cv-00556-TSZ
10
           v.                                    CEMENTAID INTERNATIONAL
11                                               MARKETING LTD.’S MOTION TO
     CEMENTAID INTERNATIONAL                     DISMISS GLACIER NORTHWEST,
12   MARKETING, LTD.,                            INC.’S AMENDED COMPLAINT
13                      Defendant.
14
                                                 NOTE ON MOTION CALENDAR:
15                                               DECEMBER 14, 2018

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 2   I.    Introduction
 3          In this case, Glacier Northwest, Inc. (“Glacier”) attempts to impose upon Cementaid
 4   International Marketing, Ltd. (“Cementaid”) a non-existent duty to indemnify and defend Glacier
 5   in two separate California lawsuits. The two lawsuits, which are ongoing, involve purported
 6   construction defects on two large scale residential projects (the “Millennium Tower Action” and
 7   the “Axis Action,” collectively, the “Projects”). Although Cementaid—a Hong Kong Company—
 8   might have manufactured cement waterproofing additives that were used in one or both Projects,
 9   Cementaid’s additives do not appear to have any connection with the alleged construction defects.
10          Glacier stretched halfway around the world to reach Cementaid, apparently in search of
11   coverage for its defense costs and for indemnification; however, the threadbare allegations in
12   Glacier’s Amended Complaint (“Complaint”) fall woefully short of stating a viable claim. Indeed,
13   not only does the Complaint fail to state any facts supporting a claim for breach of contract and
14   declaratory judgment, but the limited allegations provided in the Complaint demonstrate that
15   Glacier cannot do so.
16          Glacier’s claims are based on a Marketing and Material Supply Agreement (“Agreement”),
17   executed nearly seventeen years ago (which Glacier fails to attach to the Complaint). The terms of
18   the Agreement that Glacier cites are, on their own, fatal to its claims against Cementaid. As Glacier
19   acknowledges, the Agreement specifically limits Cementaid’s indemnification obligations to
20   “product liability claims.” Complaint ¶ 9. The Complaint, however, fails to allege that the
21   plaintiffs in the Millennium Tower and Axis Actions—or Webcor Construction LP (“Webcor”),
22   which filed cross-complaints against Glacier in those actions—have asserted a product liability
23   claim against Glacier. In fact, the complaints and cross-complaints in the Millennium Tower and
24   Axis Actions do not identify a single Glacier (or Cementaid) product that was used at the Projects
25   and they do not assert product liability claims against any party at all. In spite of its months-long
26   involvement in both the Millennium Tower and Axis Actions, Glacier failed to associate any of the
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 1   purported Project construction defects with a product liability claim that could be asserted against

 2   Cementaid. For this reason, the Complaint must be dismissed.

 3          Even if a product liability claim could be inferred from the Complaint, it is still devoid of

 4   any factual allegations that could support a duty to defend or indemnify. Specifically, Glacier has

 5   not pled facts sufficient to create a plausible inference that liability would necessarily and

 6   eventually fall on Cementaid, thereby giving rise to a duty to defend. Nor can Glacier do so. And

 7   because the Millennium Tower and Axis Actions are ongoing, Glacier cannot plead a necessary

 8   predicate for an indemnity claim; namely, that the plaintiffs and/or Webcor have prevailed on any

 9   claims asserted against Glacier.

10          Accordingly, because Glacier has not plausibly alleged that Cementaid has a duty to defend

11   or indemnify Glacier, its purported causes of action for breach of contract and declaratory judgment

12   fail. Pursuant to Federal Rule of Civil Procedure 12(b)(6), Cementaid therefore moves to dismiss

13   the Complaint for failure to state a claim upon which relief can be granted.

14   II.   Factual Background

15         A.      The Agreement Between Cementaid And Glacier

16          The Agreement between Cementaid and Glacier (dated December 31, 2001) gives Glacier

17   rights to distribute certain concrete additives, admixtures, and surface treatments within certain

18   portions of the United States. See Declaration of Jared Schuettenhelm (“Schuettenhelm Decl.”) ¶¶

19   4, 5. Notwithstanding these distribution rights, the Agreement makes clear that the relationship

20   between Cementaid and Glacier is “that of independent contractors,” and thus is “not [to] be

21   construed to create a partnership, joint venture, agency, franchise or other relationship.” Id. ¶ 7.

22   The independent nature of this relationship is affirmed by the fact that “[n]either party shall have

23   authority to create, or to assume in the name of the other party or on its behalf, any obligations,

24   express or implied for any purpose.” Id.

25          The Agreement also contains indemnity provisions, which are triggered by a limited number

26   of specific potential claims. As Glacier acknowledges, Cementaid’s limited indemnification

27   obligation is triggered by “product liability claims related to the Cementaid products.”


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 1   Complaint ¶ 9. In contrast, Glacier is solely liable—and must indemnify Cementaid—for “all

 2   claims, actions, damages, liabilities, [and] expenses” arising from or occasioned by Glacier’s acts,

 3   both intentional and negligent, relating to Glacier’s “shipping, transport, storage, distribution, sale

 4   or use” of Cementaid’s products. Schuettenhelm Decl. ¶ 6. Notably, Glacier acknowledges that its

 5   connection to the Millennium Tower and Axis Actions involves “the sale of Cementaid’s product

 6   to Central Concrete.” Complaint ¶¶ 8, 13. Thus, on its face the Complaint demonstrates that the

 7   Millennium Tower and Axis Actions involve matters (i.e., Glacier’s sale of products) that

 8   potentially fall under Glacier’s sole liability, and for which Glacier must pay any defense costs for

 9   and indemnify Cementaid.

10         B.      The Allegations In The Complaint

11          While Glacier summarily and self-servingly concludes that the Millennium Tower and Axis

12   Actions involve “product liability claims,” it fails to plead any facts showing that the plaintiffs in

13   either of those actions have raised a product liability claim implicating any Cementaid product. To

14   the contrary, Glacier’s boilerplate allegations regarding the Millennium Tower Action are limited

15   to a single sentence, which asserts only that the plaintiff “alleges numerous problems with the

16   condition of the Millennium Tower including, but not limited to water intrusion through foundation

17   systems and slabs.” Complaint ¶ 7. Glacier’s allegations regarding the Axis litigation are even

18   vaguer, stating only that the plaintiff “alleges numerous problems with the condition of the Axis

19   project including, but not limited to, water intrusion.” Id. ¶ 12. Notably, Glacier does not assert

20   that the plaintiffs in the Millennium Tower Action and the Axis Action identified a single

21   Cementaid product in their pleadings, much less that they raised a product liability claim against

22   any Cementaid product.

23          Likewise, Glacier does not plead any facts suggesting that Webcor’s cross-complaints

24   allege a product liability claim concerning any Cementaid product. Glacier states that it was

25   “named as a cross-defendant in the Webcor cross-complaint[s],” and that it is “informed and

26   believes that its only relationship to Webcor . . . is the sale of Cementaid’s product to Central

27   Concrete which subsequently utilized that product in concrete work.” Id. ¶¶ 8, 13. But as before,


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 1   Glacier does not allege that Webcor (1) identified any Cementaid product in its cross-complaints,

 2   (2) raised a product liability claim ascribed to any Cementaid product, or (3) explained how any

 3   Cementaid product was allegedly implicated in the plaintiffs’ underlying pleadings. In fact, the

 4   Webcor cross-complaint does not allege any product liability claims against a Cementaid product.

 5          Aside from these conclusory allegations, the Complaint provides no other assertions that

 6   any Cementaid product is implicated in the underlying pleadings, or explain how the underlying

 7   pleadings raise a product liability claim. Nor does Glacier concede how it ultimately could be

 8   found liable, much less demonstrate how any potential liability would necessarily transfer to

 9   Cementaid.

10   III.   Legal Standard

11          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a complaint

12   must “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

13   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550

14   U.S. 544, 570 (2007)); Dri-Eaz Prods., Inc., v. Dan Duc Nguyen, Case No. C11–1654Z, 2012 WL

15   1537598, at *1 (W.D. Wash. May 1, 2012). To be facially plausible, such “‘factual content [must]

16   allow[] the court to draw the reasonable inference’ that a party is liable for the misconduct alleged.”

17   Cascade Designs Inc., v. Windcatcher Tech. LLC, Case No. C15-1310, 2016 WL 374564, at *1

18   (W.D. Wash. Feb. 1, 2016) (citing Iqbal, 556 U.S. at 678). Importantly, “[t]he plaintiff is obligated

19   to provide grounds for his entitlement to relief that amount to more than labels and conclusions or

20   a formulaic recitation of the elements of a cause of action.” Dri-Eaz, 2012 WL 1537598, at *1

21   (citing Twombly, 550 U.S. at 545).

22          While a court must assume the truth of all well-pleaded allegations, “[m]ere ‘conclusory

23   allegations of law and unwarranted inferences are insufficient to defeat a motion to dismiss.’”

24   Cascade, 2016 WL 374564, at *1 (citing Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004)).

25   “A court may also dismiss a claim that lacks a cognizable legal theory, or the absence of sufficient

26   facts to form a cognizable legal theory.” Dri-Eaz, 2012 WL 1537598, at *1 (citation omitted). In

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 1   deciding a motion to dismiss, a court may also “look beyond a party’s complaint to matters of public

 2   record.” Cascade, 2016 WL 374564, at *1 (citation omitted).

 3   IV.     Glacier’s Second And Fourth Causes Of Action For Breach Of Contract Should
             Be Dismissed Because Glacier Has Not Pled Any Facts Showing That Cementaid
 4           Breached A Duty Imposed By The Agreement

 5          “Indemnity agreements are subject to the fundamental rules of contract construction, i.e.,

 6   the intent of the parties controls; this intent must be inferred from the contract as a whole; the

 7   meaning afforded the provision and the whole contract must be reasonable and consistent with the

 8   purpose of the overall undertaking[.]” Knipschield v. C-J Recreation, Inc., 74 Wash. App. 212,

 9   215 (Wash. Ct. App. 1994) (citation omitted). “[C]lauses purporting to exculpate an indemnitee

10   from liability flowing solely from its own acts or omissions are not favored and are strictly

11   construed.” Id. Further, “ambiguous indemnity contracts are construed against the indemnitee.”

12   Calkins v. Lorain Div. of Koehring Co., 26 Wash. App. 206, 210 (Wash. Ct. App. 1980).

13          A breach of contract claim “requires a showing of ‘(1) a contract that imposed a duty, (2)

14   breach of that duty, and (3) an economic loss as a result of the breach.’” Cascade, 2016 WL 374564,

15   at *3 (citing Myers v. State, 152 Wash. App. 823, 827-828 (Wash. Ct. App. 2009)). Here, the

16   Complaint appears to allege that Cementaid breached two duties in relation to the Millennium

17   Tower and Axis Actions: (1) a duty to defend Glacier, and (2) a duty to indemnify Glacier. See,

18   e.g., Complaint ¶¶ 10, 15, 19, 25 (reciting an alleged “obligation to indemnify Glacier”);

19   id. ¶ 20, 26 (reciting an alleged obligation to “defend and indemnify” Glacier). But Glacier has not

20   pled any facts demonstrating that the Millennium Tower and Axis Actions involve a product

21   liability claim—the only type of claim that Cementaid is contractually obligated to defend and

22   indemnify. And even if the Complaint was sufficient to raise a colorable product liability claim,

23   Glacier has not pled any facts showing that Cementaid’s alleged duty to defend and indemnify have

24   arisen. As such, the Complaint must be dismissed.

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            A.       Glacier Has Not Pled Any Facts Showing That The Underlying Proceedings
 1                   Raise A Product Liability Claim That Would Invoke Cementaid’s Alleged
 2                   Duty To Defend

 3           Glacier acknowledges that Cementaid’s alleged duty to defend and indemnify Glacier—to

 4   the extent it is applicable at all—is limited to “product liability” claims. Under California law, 1 a

 5   plaintiff may only raise a product liability claim “on the theory of strict liability in tort or on the

 6   theory of negligence.” Lemberg v. JPMorgan Chase Bank, N.A., Case No. 17-cv-05241, 2018 WL

 7   1046886, at *2 (N.D. Cal. Feb. 26, 2018) (granting motion to dismiss product liability claim for

 8   failing to plead sufficient factual information). To plead a strict product liability claim, the plaintiff

 9   must allege facts showing either a manufacturing defect, a design defect, or a warning defect in the

10   product. Id.; Mountain Club Owner’s Assoc. v. Graybar Elec. Co., Inc., Case No. No. 2:13–1835,

11   2014 WL 130767, at * 2 (E.D. Cal. Jan. 14, 2014) (“Plaintiff’s failure to identify the alleged defect

12   in the electrical cable is fatal to its strict liability claim.”). Alternatively, “[t]o prevail on a

13   negligence products liability claim, a plaintiff must show that the defendant owed her a legal duty,

14   that the defendant breached the duty, and that the breach was a proximate or legal cause of his

15   injuries.” Lemberg, 2018 WL 1046886, at *2 (citation omitted). Under a negligence theory, the

16   plaintiff must also demonstrate “‘that the defect in the product was due to negligence of the

17   defendant.’” Id. (citations omitted). Regardless of which theory is ultimately pled, “a bare

18   allegation that a product is defective is an insufficient legal conclusion.” Id.; Mountain Club, 2014

19   WL 130767, at * 1.

20           Here, the Complaint is devoid of any facts demonstrating that a product liability claim

21   implicating Cementaid’s products has been raised in either the Millennium Tower or Axis Actions.

22   For example, Glacier contends that the plaintiff in the underlying Millennium Tower Action alleges

23   “numerous problems with the condition of the Millennium Tower including, but not limited to,

24   water intrusion through foundation systems and slabs.” Complaint ¶ 7. Glacier similarly asserts

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        Due to the conclusory nature of Glacier’s allegations, and the lack of any facts regarding the alleged “product
26   liability claim,” Cementaid can only speculate that any such claim would be brought under California law, where the
     Millennium Tower and Axis Actions are pending. Glacier’s failure to plead this basic information further
27   underscores the deficiencies in the Complaint.



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 1   that the plaintiff in the underlying Axis Action alleges “numerous problems with the condition of

 2   the Axis project including, but not limited to, water intrusion.” Id. ¶ 12. But these allegations do

 3   not suggest that the plaintiffs in either action have identified a Cementaid product in their

 4   underlying pleadings (indeed, they have not). Nor do these allegations (1) say anything about a

 5   “product liability claim” being raised against any Cementaid product, (2) identify the alleged theory

 6   (strict liability or negligence) pursuant to which the product liability claim was allegedly raised, or

 7   (3) provide even the most rudimentary information regarding a single required element of a product

 8   liability claim under any theory. As such, the Complaint fails to allege any facts that would allow

 9   Cementaid, or the Court, to plausibly infer that a product liability claim has been raised, thereby

10   implicating a duty to defend and indemnify Glacier pursuant to the Agreement. Mountain Club,

11   2014 WL 130767, at *1 (dismissing product liability claim where the plaintiff “does not identify

12   the particular type of [product] or the alleged defect, let alone explain how the [product] was

13   defective or how that defect resulted in a fire on plaintiff’s property.”).

14          Indeed, the Complaint is further undermined and should be dismissed because Glacier has

15   argued in the Millennium Tower litigation the same precise points that Cementaid raises here, thus

16   demonstrating that a product liability claim has not been raised in the plaintiffs’ underlying

17   pleadings. Specifically, Glacier argues, in publicly available Court filings, that the plaintiff in the

18   Millennium Tower Action has only “alleged defective design and construction of a residential high-

19   rise” but “has not alleged that Glacier is at fault for the defective design and construction of the

20   high-rise.” Request for Judicial Notice (“RJN”), Ex. 5, 3:7-9, 6:8-9 (emphasis added) (Glacier’s

21   Motion to Quash).

22          Likewise, Glacier pleads no facts showing that Webcor’s cross-complaints raise a product

23   liability claim involving a Cementaid product. To the contrary, Glacier alleges only that it is named

24   in the cross-complaints filed by Webcor, and that it is “informed and believes” that its only relation

25   to Webcor as it relates to either project “is the sale of Cementaid’s product to Central Concrete.”

26   Complaint ¶¶ 8, 13. As with its allegations regarding the underlying complaints, Glacier does not

27   contend that Webcor identified any Cementaid product in its pleadings, allege that Webcor raised


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 1   a product liability claim as to any Cementaid product, or explain the theory or elements upon which

 2   that alleged product liability claim is supposedly based. Indeed, by Glacier’s own admission, “the

 3   sole reference to Glacier [in Webcor’s cross-complaint] is that Glacier is a Washington Corporation

 4   that was doing business in California at all relevant times.” RJN, Ex. 5, Declaration of J. Michael

 5   Grimm, at 1 (Glacier’s Motion to Quash).

 6           Moreover, while Glacier makes only two references to the “Caltite” product,

 7   Complaint ¶ 5, 6, at no point does Glacier allege that the Millennium Tower plaintiffs, the Axis

 8   plaintiffs, or Webcor identified Caltite (or any other Cementaid product) in their pleadings, much

 9   less that their pleadings pled the elements of either a strict liability or a negligent product liability

10   claim as to Caltite, or explained how Caltite allegedly contributed to any purported construction

11   defects. In fact, as Glacier itself has explained in the Millennium Tower Action, “[m]erely

12   supplying a product . . . bears no causal connection the design and construction defects which are

13   causing the Millennium Towers to displace.” RJN, Ex. 5, at 6:25-26 (Glacier’s Motion to Quash).

14           Accordingly, the “facts alleged . . . on the face of [Glacier’s] complaint . . . are patently

15   insufficient to impose a duty to defend,” since there is “no allegation whatsoever which would link

16   [Cementaid] . . . to the events leading to the filing of the complaint.” Parks v. W. Wash. Fair Ass’n,

17   15 Wash. App. 852, 856 (Wash. Ct. App. 1976); Hay v. Tollen, 4 Wash. App. 2d 1036, at *6 (Wash.

18   Ct. App. 2018) (unpublished) (finding no duty to defend where a construction defect complaint

19   “did not specify how the water penetration occurred, or specifically what defects existed,” and “did

20   not allege that [Defendant’s] framing subcontractors had caused the defects.”). On that basis alone,

21   Glacier’s causes of action for breach of contract are inadequately pled and should be dismissed.

22         B.      Glacier Has Not Pled Any Facts Showing That The Duty To Defend And The
                   Duty To Indemnify Have Arisen
23

24           Even if the Complaint raised a colorable product liability claim—which it does not— it

25   should still be dismissed. It is well established that “[t]he duty to defend and the duty to indemnify

26   arise at different times in a tort proceeding.” Knipschield, 74 Wash. App. at 215 (citation omitted).

27   In this case, Glacier has not pled any facts demonstrating that the alleged duties to defend and


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 1   indemnify have arisen. For this additional reason, it has failed to state a cause of action for breach

 2   of contract.

 3                    1.        Glacier Cannot Plead A Breach Of The Duty To Defend Because The
                                Complaint Contains No Facts Demonstrating That Liability Would
 4                              Eventually Fall On Cementaid
 5             To show entitlement to a duty to defend, the facts at the time of tender “must demonstrate
 6   that liability would eventually fall upon the indemnitor, thereby placing it under a duty to defend.”
 7   Knipschield, 74 Wash. App. at 216 (citations omitted) (emphasis added); Dixon v. Fiat-Roosevelt
 8   Motors, Inc., 8 Wash. App. 689, 694 (Wash. Ct. App. 1973). 2 Here, Glacier cannot state a claim
 9   for breach of the duty to defend because it has not alleged any facts that “necessarily demonstrate
10   that liability would eventually fall upon [Cementaid].” Dixon, 8 Wash. App at 694 (emphasis
11   added).
12             The Complaint does not allege—much less plead facts to support an allegation—that
13   Cementaid would eventually be liable for any damages in the Millennium Tower Action or the Axis
14   Action. As explained above, neither the plaintiffs’ underlying pleadings, nor Webcor’s cross-
15   complaints, identify any Cementaid product, state a product liability claim against any Cementaid
16   product, or allege that any Cementaid product is related to any of the alleged issues recited in the
17   underlying complaints or cross-complaints. Nor does Glacier make any attempt to connect
18   plaintiffs’ and Webcor’s allegations to Cementaid, or provide any facts to explain how they
19   potentially implicate any Cementaid product. As such, the Complaint does not plausibly allege that
20   Cementaid will necessarily be found liable in the underlying actions. Hay v. Tollen, 4 Wash. App.
21   2d 1036, at *7 (finding no duty to defend where “[t]he record contains only general allegations that
22   houses in the project sustained water damage without identifying the source of that water damage
23   or whether the work by [Defendants] was related in any fashion to the source.”); Ballard
24   Residential, LLC v. Pac. Rim Framing Co., Inc., 149 Wash. App. 1060, at *6 (Wash. Ct. App. 2009)
25
     2
       Unlike an insurance policy, the mere potential for liability does not trigger a duty to defend pursuant to a contractual
26   defense and indemnity clause. Hay v. Tollen, 4 Wash. App. 2d 1036, at *6, n.6 (“The trigger for a duty to defend for
     standard contract is different than the duty to defend applied to insurance contracts.”); Knipschield, 74 Wash. App.
27   at 216 & n.3 (contrasting a contractual duty to defend with the duty to defend in the insurance context).



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 1   (unpublished) (finding no duty to defend where the plaintiff “failed to provide evidence of a causal

 2   connection between Pacific Rim’s narrow scope of work regarding Tyvek and the documented

 3   water damage.”).

 4            To the contrary, to the extent that the threadbare allegations in the Complaint allow any

 5   plausible inference, it is that Glacier cannot plead any facts showing that liability in the underlying

 6   actions would necessarily fall on Cementaid. As Glacier acknowledges, Cementaid’s limited duty

 7   to defend is only implicated by a product liability claim. In contrast, Glacier is liable for, and must

 8   defend and indemnify Cementaid against, any and all claims involving Glacier’s negligent or

 9   intentional acts “with regard to [Glacier’s] shipping, transport, storage, distribution, sale or use” of

10   Cementaid’s products. Schuettenhelm Decl. ¶ 6 (emphasis added). As Glacier acknowledges, its

11   alleged connection to the Millennium Tower and Axis Actions involves “the sale of Cementaid’s

12   products to Central Concrete.” Complaint ¶ 8, 13 (emphasis added). 3 Thus, because the underlying

13   actions involve Glacier’s sale of Cementaid products—thereby potentially implicating Glacier’s

14   sole liability under the Agreement—Glacier cannot “demonstrate that [Cementaid] would

15   eventually be liable for plaintiff’s injury if [Glacier] was found liable.” Dixon, 8 Wash. App at 694

16   (noting that since “Fiat’s position as the retailer and A.R.E.’s position as the manufacturer are in

17   conflict,” the duty to defend was not implicated).

18            Glacier’s inability to plead that liability would necessarily fall on Cementaid is further

19   underscored by Glacier’s statements in the underlying actions. For example, in the Millennium

20   Tower Action, Glacier has stated that it is only “named in [Webcor’s] cross-complaint in the event

21   that Webcor is found to have some liability in the underlying action.” RJN, Ex. 5, at 6:6-8 (Motion

22   to Quash). Thus, by Glacier’s own admission, there is only a potential for a finding of liability

23   against it, which is itself contingent on the potential for a finding of liability against Webcor. This

24   3
       Because this motion is based on the underlying pleadings, Cementaid does not, at this time, rely on any of the facts
     revealed during discovery in the underlying litigations. Nonetheless, Cementaid notes that Glacier’s representation
25   that it only “sold” Cementaid’s products is, at best, incomplete. Indeed, discovery in the underlying actions
     demonstrates that Glacier had extensive involvement in, and approved and oversaw, various aspects of the projects.
26   Thus, to the extent that the Court allows Glacier to amend its Complaint yet again, Cementaid anticipates moving
     promptly for summary judgment as the facts plainly demonstrate that Glacier cannot, as a matter of law, succeed in
27   demonstrating that Cementaid has a duty to defend Glacier.



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 1   attenuated chain of “potential” liability does not support a plausible inference that liability would

 2   necessarily fall on Cementaid, thus triggering a duty to defend. And as explained above, Glacier

 3   has noted that the plaintiff in the Millennium Tower Action “has not alleged that Glacier is at fault

 4   for the defective design and construction of the high-rise,” and that “[m]erely supplying a

 5   product . . . bears no causal connection the design and construction defects which are causing the

 6   Millennium Towers to displace.” Id. at 6:8-9 & 25-26. In view of these assertions, Glacier cannot

 7   now contend that any liability would necessarily flow to Cementaid.

 8             In sum, Glacier has not pled any facts demonstrating that liability “would eventually fall

 9   upon [Cementaid], thereby placing it under a duty to defend.” Knipschield at 74 Wash. App. at 216

10   (citations omitted). As a result, it cannot state a claim against Cementaid for breach of any duty to

11   defend.

12                   2.     Glacier Cannot Plead A Breach Of The Duty To Indemnify Because
                            The Parties In The Underlying Action Have Not Prevailed
13

14             Under Washington law, the duty to indemnify only “‘arises when the plaintiff in the
15   underlying action prevails on facts that fall within coverage.” Knipschield, 74 Wash. App. at 216
16   (citations omitted); Parks, 15 Wash. App. at 855 (“Only if the indemnitor can be said to have
17   breached that duty [to defend] can it be held liable for the indemnitee’s costs of defending the
18   lawsuit”).
19             Here, Glacier cannot plead that the underlying plaintiffs or Webcor have prevailed against
20   it in either the Millennium Tower Action or the Axis Action. As the Complaint demonstrates, those
21   actions are currently ongoing and no judgments have been rendered against Glacier.                 See
22   Complaint ¶¶ 18, 24 (noting that Glacier’s defense in those cases is “continuing” and that it
23   “may . . . be obligated to pay the costs of a settlement or judgment” in the future.”). Accordingly,
24   Glacier cannot state a claim against Cementaid for breach of a duty to indemnify.
25

26

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     V.    In The Absence of A Cause Of Action For Breach Of Contract, Glacier’s First And
 1         Third Causes Of Action For Declaratory Judgment Must Be Dismissed
 2
             “It is well established that the Declaratory Judgment Act ‘does not create an independent
 3
     cause of action.’” Hummel v. Nw. Tr. Servs., Inc., 180 F. Supp. 3d 798, 810 (W.D. Wash. 2016)
 4
     (citations omitted). “As such, in the absence of a substantive cause of action, the Court cannot
 5
     grant declaratory relief.” Id.; Krasucki v. Nationstar Mortg., LLC, Case No. C15-0229JLR, 2015
 6
     WL 11251850, at *4 (W.D. Wash. July 8, 2015) (“A declaratory judgment is a remedy, not a cause
 7
     of action or theory of recovery.”) (citations omitted); Minnick v. Clearwire US, LLC, 683 F. Supp.
 8
     2d 1179, 1188-89 (W.D. Wash. 2010) (“Plaintiffs’ cause of action for declaratory relief rises and
 9
     falls with the remainder of the complaint.”).
10
             As explained above, the Complaint fails to state a claim for breach of contract. Thus,
11
     because Glacier’s claim for breach of contract fails, so must its claim for declaratory judgment
12
     since it is derivative of its flawed contract claims.       Krasucki, 2015 WL 11251850, at *4
13
     (“[D]eclaratory relief will not be granted where the request for declaratory relief is derivative of an
14
     underlying claim and that underlying claim fails.”) (citations omitted); Hummel, 180 F. Supp. 3d at
15
     810-11 (holding that since the court dismissed the Plaintiff’s other claims, “it must dismiss
16
     Plaintiff’s declaratory relief claim as well.”).
17
     VI.   Conclusion
18
             For the foregoing reasons, Cementaid respectfully requests that the Court dismiss the
19
     Complaint for failure to state a cause of action pursuant to Federal Rule of Civil Procedure 12(b)(6).
20

21

22   Dated: November 21, 2018                           Respectfully submitted,
23
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 1
                                   CERTIFICATE OF SERVICE
 2
            The undersigned hereby certifies that a true and correct copy of the above and foregoing
 3
     document has been served on November 21, 2018 to all counsel of record who have consented
 4
     to electronic service via the Court’s CM/ECF system.
 5

 6                                              /s/ Philip J. Bezanson
                                                Philip J. Bezanson
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